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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


   FEDERAL TRADE COMMISSION
   600 Pennsylvania Avenue, N.W.
   Washington, DC 20580

                                 Plaintiff,

                                    v.
                                                     Civil Action No. 23-cv-03600
   SEVEN & I HOLDINGS CO., LTD.
   8-8 Nibancho, Chiyoda-Ku
   Tokyo, Japan 102-8452, and
                                                         REDACTED VERSION OF
   7-ELEVEN, INC.                                        DOCUMENT SOUGHT TO
   3200 Hackberry Road                                   BE SEALED
   Irving, Texas 75063

                               Defendants.




                 COMPLAINT FOR CIVIL PENALTIES AND
                     OTHER EQUITABLE RELIEF FOR
    VIOLATION OF A FEDERAL TRADE COMMISSION DECISION AND ORDER

       Plaintiff Federal Trade Commission (“Commission”) alleges as follows:

       1.       This case involves a blatant and undisputed violation of a Commission order by a

serial acquirer whose deals the Commission has investigated and found to violate the antitrust

laws. In 2018, Defendants Seven & i Holdings, Co., Ltd., and 7-Eleven, Inc. (collectively, “7-

Eleven”) proposed to acquire approximately 1,100 retail fuel outlets with attached convenience

stores from Sunoco LP. The Commission investigated the proposed acquisition and determined

that it violated the federal antitrust laws. If consummated, the transaction would have harmed
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competition among retail fuel outlets by creating highly concentrated markets in 76 local

markets—threatening to raise fuel prices, among other consumer harms. Indeed, in 18 markets,

the transaction would have created a monopoly, and in 39 markets, the transaction would have

reduced the number of competitors from three to two. 7-Eleven agreed to resolve the

Commission’s investigation by negotiating and agreeing to a Consent Order that the Commission

issued in March 2018. Exhibit A. 1

        2.        The Consent Order required 7-Eleven to divest fuel outlets (or Sunoco LP to

retain fuel outlets) in each of the 76 local markets, thereby remedying the immediate competitive

harm threatened by the transaction. Exhibit B ⁋ II. 2 In addition, the Consent Order prohibits 7-

Eleven from acquiring specific third-party fuel outlets competing in the local markets without

providing prior notice to the Commission. Exhibit B ⁋ VII.B. The prior notice requirement is an

essential element of the Consent Order. Prior notice provides the Commission a fair opportunity

to identify, investigate, and prevent future anticompetitive acquisitions by 7-Eleven before they

occur and inflict irreparable harm on the public. Without prior notice, 7-Eleven could quietly

acquire retail fuel outlets in those concentrated markets and allow unlawful transactions to

proceed without objection. Prior notice is especially important given 7-Eleven’s history of

engaging in anticompetitive acquisitions. Since 2018 alone, 7-Eleven has proposed two

acquisitions, involving thousands of fuel outlets, that the Commission found to have violated the

antitrust laws.




1
  The relevant portion of the Agreement Containing Consent Orders is attached to this Complaint
as Exhibit A.
2
  The relevant public portion of the Consent Order is attached to this Complaint as Exhibit B.
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       3.        Although the Consent Order expressly requires 7-Eleven to provide the

Commission prior notice of certain future acquisitions, 7-Eleven violated its obligation.

       4.        In             mere months after 7-Eleven signed the Consent Order—7-Eleven

employees                               a competing fuel outlet in St. Petersburg, Florida (the “St.

Petersburg Outlet”). The St. Petersburg Outlet was listed in the Consent Order as an outlet that

7-Eleven could not acquire without providing prior notice to the Commission.

       5.        7-Eleven’s acquisition of the St. Petersburg Outlet was plainly anticompetitive:

7-Eleven noted one deal rationale was                               and a 7-Eleven employee

observed that,

                                                  Tellingly, by not providing the Commission with

prior notice, 7-Eleven deprived the Commission of its opportunity to investigate and seek to

prevent this anticompetitive acquisition as the Consent Order requires. Instead, 7-Eleven

completed the acquisition in                   , eviscerating the remedy that the Commission had

required in the Consent Order to maintain competition in that local market.

       6.        7-Eleven reaped           of dollars from violating the Consent Order. First, 7-

Eleven benefited from likely being able to charge higher fuel prices at its other two locations

near the St. Petersburg Outlet, one of which was right across the street. Second, over the period

7-Eleven operated the St. Petersburg Outlet, the company earned, by its own numbers,

        in EBITDA from retail sales. Third, when 7-Eleven ultimately sold the St. Petersburg

outlet, it generated another approximately                in capital gains from the sale. All told,

these gains to 7-Eleven from violating the Consent Order are close to                 , if not more.




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        7.       Moreover, 7-Eleven’s failure to implement meaningful internal controls meant

that 7-Eleven’s acquisition of the St. Petersburg Outlet went undetected, and thus unreported, for

over three years. Indeed, from                                     , 7-Eleven made regular reports

to the Commission that falsely certified that

                 . It was not until             —over three and a half years later—that 7-Eleven

finally told the Commission that                                            . Its acquisition is

unlawful and in violation of the Consent Order.

        8.       7-Eleven’s conduct presents a model case for civil penalties. The Consent Order

prohibits 7-Eleven from acquiring specific competitor outlets without providing prior notice to

the Commission. The Consent Order is designed to protect consumers from anticompetitive

acquisitions, which could lead to higher retail fuel prices, among other consumer harms. 7-

Eleven—a serial acquirer of retail fuel outlets across the United States—violated the Consent

Order, thereby harming consumers and generating               in gains from an acquisition that it

should never have made. This Court should award civil penalties for 7-Eleven’s violation of the

Consent Order to protect the public interest and deter 7-Eleven and others from flouting future

consent orders.

                                      JURISDICTION AND VENUE

        9.       This Court has jurisdiction over Seven & i Holdings Co., Ltd. and 7-Eleven, Inc.

and over the subject matter of this action pursuant to Section 5(l) of the Federal Trade

Commission Act (“FTC Act”), 15 U.S.C. § 45(l) and 28 U.S.C. §§ 1331, 1337(a), 1345, and

1355.




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       10.     Venue is proper in this District under 28 U.S.C. § 1391(b) and (c) and 28 U.S.C.

§ 1395(a).

                                         THE PARTIES

       11.     Plaintiff Federal Trade Commission is an independent administrative agency of

the United States government, established, organized, and existing pursuant to the FTC Act, 15

U.S.C. § 41, et seq., with its principal offices in Washington, DC. The Commission is authorized

pursuant to Sections 5(l) and 16(a)(1) of the FTC Act, 15 U.S.C. §§ 45(l) and 56(a)(1), as

amended, to initiate court proceedings to enforce its orders.

       12.     Defendant Seven & i Holdings Co., Ltd. is a corporation organized, existing, and

doing business under and by virtue of the laws of Japan, with its headquarters and principal place

of business located at 8-8 Nibancho, Chiyoda-Ku, Tokyo, Japan 102-8452.

       13.     Defendant 7-Eleven, Inc. is a corporation organized, existing, and doing business

under and by virtue of the laws of the state of Texas, with its headquarters and principal place of

business located at 3200 Hackberry Road, Irving, Texas 75063. 7-Eleven, Inc. is a wholly

owned subsidiary of Seven & i Holdings Co., Ltd.

       14.     Each Defendant, either directly or through its subsidiaries, is, and at all relevant

times has been, engaged in commerce, as “commerce” is defined in Section 1 of the Clayton Act

as amended, 15 U.S.C. § 12, and Section 4 of the FTC Act, as amended, 15 U.S.C. § 44.


    7-ELEVEN’S ANTICOMPETITIVE ACQUISITION OF SUNOCO LP OUTLETS

       15.     In 2018, the Commission alleged in an administrative complaint that 7-Eleven’s

proposed $3.3 billion acquisition from Sunoco LP of approximately 1,100 retail fuel outlets with

attached convenience stores, if consummated, may have substantially lessened competition or

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tended to create a monopoly in the retail sale of gasoline and diesel in 76 local markets across 20

metropolitan statistical areas, in violation of Section 7 of the Clayton Act, as amended, 15 U.S.C.

§ 18, and Section 5 of the FTC Act, as amended, 15 U.S.C. § 45. One of the local markets was

in the Tampa metropolitan statistical area, which includes St. Petersburg, Florida.

       16.     If consummated, 7-Eleven’s planned acquisition of certain Sunoco LP outlets

would have harmed competition for retail gas and diesel fuel in those 76 local markets.

Specifically, the complaint alleged that the acquisition would create a monopoly in 18 local

markets. In 39 local markets, the acquisition would have reduced the number of independent

market participants from three to two. In 19 local markets, the acquisition would have reduced

the number of independent market participants from four to three. These reductions in

competition would have harmed consumers, who ultimately likely would have ended up paying

higher fuel prices.

                           THE COMMISSION CONSENT ORDER

       17.     To prevent those anticompetitive harms, the Commission required, and 7-Eleven

agreed to be bound by, the Consent Order, which set forth several obligations designed to

remedy the Commission’s concerns. Among other things, the Consent Order required 7-Eleven

to divest fuel outlets in several local markets and prohibited 7-Eleven from acquiring fuel outlets

in other local markets, where 7-Eleven already had a significant market share.

       18.     The Consent Order also requires 7-Eleven to provide the Commission notice

before acquiring any interest in specific third-party retail fuel outlets located in those local

markets for a period of ten years. The Commission’s prior notice requirement is a critical tool

for protecting the American public and preventing future law violations. Without prior notice, 7-

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Eleven could pursue acquisitions of retail fuel outlets in these local markets without oversight

because the acquisitions likely would fall below the Hart-Scott-Rodino Act premerger

notification filing thresholds—thresholds designed to allow federal antitrust enforcers to review

certain mergers before they are consummated. 3 7-Eleven has sought to acquire nearly 5,000

retail fuel outlets since 2018 (roughly doubling 7-Eleven’s total number of retail fuel outlets),

spending $24 billion on two significant acquisitions, both of which were found by the

Commission to violate the federal antitrust laws. Given 7-Eleven’s history as a repeat offender,

the Consent Order was designed to ensure that the Commission would receive prior notice of any

proposed 7-Eleven acquisition of a covered outlet and give the Commission an opportunity to

evaluate and (if necessary) seek to block the proposed acquisition. Thus, the prior notice

provision serves as an important deterrent against anticompetitive acquisitions by a company,

like 7-Eleven, that engages in serial acquisitions that violate the antitrust laws.

       19.     Specifically, Paragraph VII of the Consent Order requires that for ten years, 7-

Eleven shall provide the Commission with notice before acquiring any interest in any of the

retail fuel outlets identified in a non-public schedule to the Consent Order. Exhibit B ⁋ VII.B.

That schedule lists, by address and Oil Price Information Service (“OPIS”) number, the third-

party retail fuel outlets for which 7-Eleven is required to give prior notice.




3
  The Hart-Scott-Rodino Act requires parties to certain mergers or acquisitions (for example,
transactions above a certain value) to notify the Commission and Department of Justice before
consummating the proposed transaction. The parties must wait a specific period of time while
the enforcement agencies review the proposed transaction. The premerger notification
provisions are codified at 15 U.S.C. § 18a.
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        20.     Paragraph VII of the Consent Order specifies how 7-Eleven must provide prior

notice to the Commission. Exhibit B ⁋ VII.2. The Consent Order requires 7-Eleven to include

(1) the information that the HSR Notification and Report Form requires and (2) maps identifying

all retail fuel locations within five driving miles of the outlet that 7-Eleven intends to acquire.

Exhibit B ⁋ VII.B.1.(a)-(b). Paragraph VII of the Consent Order also requires 7-Eleven to

identify, for each retail fuel outlet it owns that is within five driving miles of the outlet it intends

to acquire, the other retail fuel outlets that 7-Eleven has monitored over the past year. Exhibit B

⁋ VII.B.1.(c). In this context, “monitoring” means retail fuel outlets whose fuel prices 7-Eleven

has reviewed. For each retail fuel outlet identified, 7-Eleven is required to provide its pricing

strategy in relation to the monitored outlet. Exhibit B ⁋ VII.B.1.(d). Collectively, this

information is intended to allow the Commission to quickly determine whether the proposed

acquisition may be anticompetitive and, if so, to seek additional information and to prevent the

acquisition.

        21.     7-Eleven is required to provide prior notice 30 days before consummating the

acquisition of any of the retail fuel outlets identified in the non-public schedule to the Consent

Order. Exhibit B ⁋ VII.B.2. The Commission may then request additional information, and 7-

Eleven would be prohibited from closing the acquisition until 30 days after it complied with the

Commission’s request. Id.

         7-ELEVEN’S VIOLATION OF THE COMMISSION CONSENT ORDER

        22.     7-Eleven does not dispute that it violated the prior notice requirement of the

Consent Order.




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         23.   Paragraph VII of the Consent Order requires prior notice before acquiring “any

leasehold, ownership interest, or any other interest” (emphasis added) in the specific, identified

outlets, including the St. Petersburg Outlet. Exhibit B ⁋ VII.B.

         24.   In            —mere months after 7-Eleven agreed to the Consent Order—7-

Eleven

                                                               One goal of the acquisition was to

raise retail gasoline prices by                           As a 7-Eleven employee observed,




                                  —which explicitly required 7-Eleven to give the Commission

prior notice before acquiring any “leasehold[s]”—                                  . The

acquisition enabled 7-Eleven to expand its presence with a larger store on the corner, eliminate a

competitor, capture additional fuel sales at its outlets that previously would have gone to a

competitor, and likely charge higher prices.

         25.   7-Eleven failed to give the Commission prior notice of its acquisition of the St.

Petersburg Outlet because 7-Eleven’s internal controls (such as they were) for ensuring

compliance with the Consent Order were wholly inadequate. 7-Eleven failed to implement any

meaningful systems to ensure compliance with the Consent Order. Instead, 7-Eleven’s

compliance process consisted




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                                                                                               , long

after 7-Eleven had unlawfully acquired the St. Petersburg Outlet.

       26.       At the time 7-Eleven acquired the St. Petersburg Outlet, it was filing 30-day

interim reports to the Commission. The reports informed the Commission, falsely, that

                                                             . These misstatements, repeated every

30 days for most of        , make it clear that the violation did not simply stem from a failure to

inform 7-Eleven employees of the Consent Order. Instead, 7-Eleven management failed to

properly monitor or report to the Commission acquisitions that were made in markets covered by

the Consent Order. 7-Eleven filed multiple 30-day reports when it was

                                                                                              . In

those reports,




       27.       As it turned out, this certification was false beginning at least in



                                       . During this time, 7-Eleven submitted eight false interim

reports to the Commission.

       28.       After acquiring the St. Petersburg Outlet, 7-Eleven tore it down, rebuilt it, and

began operations at the site in May 2020.




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       29.     On                   —over three years after 7-Eleven acquired the St. Petersburg

Outlet—7-Eleven                                                                                . 7-

Eleven then submitted an annual compliance report,

       30.     Finally, on                 , in response to its violation of the Consent Order and at

the Commission’s urging, 7-Eleven sold the St. Petersburg Outlet to a third party. Selling the St.

Petersburg Outlet four years after the fact, however, does not moot 7-Eleven’s violation of the

Consent Order.

       31.     7-Eleven deprived the Commission of its right to investigate and seek to block the

unlawful acquisition pre-consummation because 7-Eleven did not provide the Commission prior

notice as the Consent Order requires. In fact, 7-Eleven failed to give the Commission any notice

for over three years. Nor did 7-Eleven give the Commission any of the information related to the

required notice—no maps, no information on the competitive dynamics, and no pricing strategy

information. With no warning, 7-Eleven unilaterally acquired a retail fuel outlet in St.

Petersburg and violated the Consent Order.


                  7-ELEVEN’S VIOLATION OF THE CONSENT ORDER
                      MERITS A MEANINGFUL CIVIL PENALTY

       32.     Relevant factors for determining the civil penalty amount for violating a consent

order include: (1) harm to the public; (2) benefit to the violator; (3) good or bad faith of the

violator; (4) the violator’s ability to pay; (5) deterrence of future violations by this violator and

others; and (6) vindication of the Commission’s authority. Each factor merits a meaningful civil

penalty in this case.

       33.     The Violation Harmed the Public. 7-Eleven’s violation of the Consent Order

harmed the public in at least two ways. First, 7-Eleven harmed consumers of fuel in the local
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market in which the St. Petersburg Outlet competed when it unlawfully eliminated the St.

Petersburg Outlet as a competitor. This elimination of competition likely allowed 7-Eleven to

charge higher fuel prices to consumers during the period that 7-Eleven controlled the St.

Petersburg Outlet. Second, 7-Eleven harmed the public at large by undermining the integrity of

the government’s ability to execute and enforce agreements whose purpose is to enforce the

antitrust laws and protect competition.

       34.      The Violation Benefitted 7-Eleven. By unlawfully acquiring the St. Petersburg

Outlet, 7-Eleven removed a competitor from the market to the benefit of its other locations in

that market. This reduction in competition likely allowed 7-Eleven to generate additional profits

from higher fuel prices. Moreover, on information and belief, 7-Eleven also reaped

approximately                in EBITDA from operating the St. Petersburg Outlet and another

             in capital gains from divesting it. In total, these gains to 7-Eleven from violating the

Consent Order are close to                , if not more.

       35.      7-Eleven’s Conduct Reflects Bad Faith. 7-Eleven’s disregard of the prior notice

requirements in the Consent Order reflects bad faith. 7-Eleven showed indifference towards the

Consent Order’s injunctions and failed to implement any semblance of corporate controls to

ensure compliance with the prior notice provision. 7-Eleven’s failings call into question how

seriously 7-Eleven ever took its obligations to comply with the Commission’s Consent Order.

Although the Consent Order included express injunctions against acquiring specific outlets

without giving the Commission prior notice, on information and belief, 7-Eleven failed to (1)

inform all its employees responsible for leasing or acquiring new outlets about the obligations

under the Consent Order and (2) ensure that proposed acquisitions were checked against the


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Consent Order’s list of outlets for which prior notice was required. 7-Eleven also filed eight

compliance reports with the Commission that falsely represented

                                                             See supra ¶ 27.

        36.     7-Eleven Has the Ability to Pay. On information and belief, Seven & i Holdings

Co., Ltd. had total revenues of approximately $80 billion in 2022 with U.S. operating income

amounting to approximately $2.7 billion. 7-Eleven, therefore, has more than adequate ability to

pay a significant civil penalty, and there is no basis for reducing the civil penalty to account for

any financial difficulties.

        37.     A Meaningful Penalty Is Required to Deter 7-Eleven and Others. A

meaningful civil penalty is required to deter not just 7-Eleven but also to deter other parties to

Commission consent orders from violating such orders in a similar manner. 7-Eleven is a serial

acquirer of retail fuel outlets across the United States. The Commission has, on two occasions,

found that 7-Eleven’s proposed acquisitions would violate the antitrust laws. The Commission

has previously determined that these law violations could be resolved by entering into consent

orders with 7-Eleven. 7-Eleven should not be allowed to profit from violating the Consent

Order, and any civil penalty should far exceed the ill-gotten gains that it reaped by violating the

Consent Order. A meaningful civil penalty against 7-Eleven will incentivize it—and other

parties to Commission consent orders—to invest in systems and controls for ensuring that

Commission orders are followed.

        38.     A Meaningful Penalty Is Necessary to Vindicate the Commission’s Authority.

In 2018, the Commission determined that 7-Eleven’s acquisition of Sunoco LP retail fuel outlets

would, if consummated, violate Section 7 of the Clayton Act, as amended, 15 U.S.C. § 18, and


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Section 5 of the FTC Act, as amended, 15 U.S.C., § 45. To remedy the violation charged, the

Commission negotiated and executed the Consent Order with 7-Eleven. 7-Eleven agreed to

abide by the Consent Order and to provide prior notice to the Commission. The Commission’s

authority to execute binding consent orders is an important tool for enforcing the antitrust laws.

A significant civil penalty is required to vindicate that authority.

                                           COUNT ONE

                                 (Violation of the Consent Order)

          39.   Plaintiff realleges and incorporates by reference paragraphs 1 to 38 above.

          40.   7-Eleven violated Paragraph VII of the Consent Order when it acquired the St.

Petersburg Outlet on                     , without notifying the Commission and providing the

required information relating to such notice. 7-Eleven continuously violated the Consent Order

from                     , until it divested the St. Petersburg Outlet on             .

                           CALCULATION OF CIVIL PENALTIES

          41.   Under Section 5(l) of the FTC Act and the Federal Civil Penalties Inflation

Adjustment Act Improvements Act of 2015, Pub. L. 114-74, § 701 (further amending the Federal

Civil Penalties Inflation Adjustment Act of 1990), violations of final Commission orders subject

respondents to a potential civil penalty of up to $50,120 for each violation. See also 88 Fed. Reg.

1499 (January 11, 2023). For continuing violations, each day is a separate violation.

          42.   7-Eleven acquired the St. Petersburg Outlet on                    , and sold the

site on                . That is 1,547 days. Because each of the 1,547 days is a separate

violation, the maximum civil penalty for 7-Eleven’s failure to provide prior notice is

$77,535,640.


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                                   REQUESTED RELIEF

WHEREFORE, the Commission requests:

       a.     That the Court adjudge and decree that 7-Eleven’s acquisition of the St.

Petersburg Outlet was a violation of the Commission’s Consent Order; and that Defendants were

in violation of the Consent Order each day from                     to               ;

       b.     That the Court order Defendants to pay an appropriate civil penalty amount;

       c.     That the Court order appropriate injunctive relief;

       d.     That the Court order such other and further relief as it may deem just and proper;

and

       e.     That the Court award the Commission its costs of this suit.




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Dated:                               Respectfully submitted,

December 4, 2023
                                     _/s/ James H. Weingarten_________________
HENRY LIU (D.C. Bar 986296)          JAMES H. WEINGARTEN (D.C. Bar 985070)
Director                             Deputy Chief Trial Counsel
Bureau of Competition                Federal Trade Commission
                                     Bureau of Competition
RAHUL RAO                            600 Pennsylvania Ave, NW
Deputy Director                      Washington, DC 20580
Bureau of Competition                202-326-3570
                                     jweingarten@ftc.gov

                                     MARIBETH PETRIZZI (D.C. Bar 435204)
                                     Assistant Director

                                     ERIC D. ROHLCK (D.C. Bar 419660)
                                     Deputy Assistant Director

                                     ANGELIKE A. MINA
                                     SEBASTIAN LORIGO
                                     CHRISTINE TASSO (D.C. Bar 985499)
                                     Attorneys

                                     Bureau of Competition

                                     Attorneys for Plaintiff Federal Trade Commission




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